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 7
                               IN THE UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     Case No.: 1:13-MC-0061-BAM
11
            Plaintiff,
12
                          v.
13                                                 ORDER TERMINATING WRIT
     MARVIN MITCH FREEMAN,                         PROCEEDINGS AND CLOSING THE CASE
14
            Defendant and Judgment Debtor,
15

16
     BANK OF AMERICA,
17          Garnishee.
18

19         The United States has filed a Notice of Termination of Writ Proceedings and Enforcement of

20 Judgment. ECF No. 5. Accordingly, pursuant to 28 U.S.C. § 3205(c)(10), the Court hereby terminates

21 the Writ of Garnishment previously issued on December 27, 2013 against defendant Marvin Mitch

22 Freeman and ORDERS this case closed.

23
     IT IS SO ORDERED.
24

25     Dated:     May 29, 2014                          /s/ Barbara   A. McAuliffe        _
                                                  UNITED STATES MAGISTRATE JUDGE
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